    Case 1-25-41368-jmm      Doc 37    Filed 04/28/25   Entered 04/28/25 15:25:06




April 28, 2025



To: Hon. Jil Mazer-Marino

Re: Avon Place, LLC Bankruptcy Hearing -- Case 1-25-41368 (JMM)

Your Honor,

I lived at 47 Avon Place, Apartment 320, from July of 2024 to August of 2024.

My experience with the landlords was unpleasant at every turn.

For the first five months I lived there, there was a car alarm that went off at various
times of the day. It is no exaggeration to say it happened every other day and
sometimes a few times a day. Empire feigned interest in fixing the problem but
eventually the guy got rid of his car. Anyway, this went on for months.

After a few months, the vending machine that doled out credits to be used in the
laundry room broke and it was never fixed.

The dumpsters near the parking lot were often an overflowing, stinky mess that
attracted bears.

My air conditioning was in barely passable shape but the apartment below me was
drenched in leaking water whenever I used my air conditioning. They tried to fix it
but there was never any improvement for me or the tenants on the floor below.

After a disappointing year, I moved out at the end of July of 2024. I never missed
a rent payment. Yet, Empire kept my security deposit of $1,900. I left the
apartment in great shape and left behind no mess or damages. A few nail holes in
various walls. After about six weeks, I emailed, called, and texted my various
contacts at Empire and got the runaround. They often said, “Let me see if the
checks went out.”

A typical round of the thieving game they play goes like this: I call the Stamford
office, and they tell me to call the Avon office who then tell me to call Stamford. I
often texted Bret Hurst and Ahron Rudich and Brett would “look into it.” This
went on for month. They never said they were keeping it or that I had left damages
behind that would cost me. It was just a stringing along.
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Thank you for your time in considering this case. I understand it is complex and
that your job here is complicated. I write to tell you that I had a bruising experience
with this company. They lied to me repeatedly. They stole $1,900 from me. They
are scam artists, con men, and common criminals.



Sincerely,



John Hassan

860-839-9128
